
STRAUB, Circuit Judge,
dissenting:
The majority today holds that the Policy Requirement “falls well beyond what the Supreme Court and this Court have upheld as permissible conditions on the receipt of government funds.” Maj. Op. at 223. On the contrary, the Policy Requirement, together with the Guidelines implemented by Defendants, is precisely in line with the “unconstitutional conditions” doctrine as it has been applied in the context of subsidy conditions alleged to violate the First Amendment. The Policy Requirement neither imposes a coercive penalty on protected First Amendment rights nor discriminates in a way aimed at the suppression of any ideas. Furthermore, the viewpoint-based nature of the Policy Requirement is entirely proper because the Leadership Act does not implicate public-forum principles, but rather allows the government to subsidize the transmittal of a message it has concluded is part of its preferred method of fighting HIV/AIDS. Therefore, heightened scrutiny is not proper in this case. Because the Policy Requirement is an entirely rational exercise of Congress’s powers pursuant to the Spending Clause and because Plaintiffs have not shown that they are likely to succeed on the merits of their claim that the Policy Requirement is unconstitutional, I would vacate the District Court’s grant of a preliminary injunction. Accordingly, I respectfully dissent.
I
A further explanation of the Leadership Act may be helpful in understanding the purpose of the funding restriction at issue here. In 2003, Congress enacted the United States Leadership Against HIV/ AIDS, Tuberculosis, and Malaria Act, Pub.L. No. 108-25, 117 Stat. 711 (codified as amended at 22 U.S.C. § 7601 et seq.). The Act was reauthorized and amended in 2008. See 22 U.S.C. § 7671; Tom Lantos and Henry J. Hyde United States Global Leadership Against HIV/AIDS, Tuberculosis, and Malaria Reauthorization Act of 2008, Pub.L. No. 110-293, 122 Stat. 2918 (codified at 22 U.S.C. § 7601 et seq.). The current version of the Act directs the President to “establish a comprehensive, integrated, 5-year strategy to expand and improve efforts to combat global HIV/ AIDS,” 22 U.S.C. § 7611(a), and provides $48 billion of taxpayer funds to fight the epidemic over five years, id. § 7671(a). The Act provides that this strategy shall “make the reduction of HIV/AIDS behavioral risks a priority of all prevention efforts by,” among other means, “promoting abstinence from sexual activity and encouraging monogamy and faithfulness,” “educating men and boys about the risks of procuring sex commercially and about the need to end violent behavior toward women and girls,” “supporting partner country and community efforts to identify and address social, economic, or cultural factors, such as ... gender-based violence [and] lack of empowerment for women ..., which directly contribute to the transmission of HIV,” “promoting cooperation with law enforcement to prosecute offenders of trafficking, rape, and sexual assault crimes with the goal of eliminating such *241crimes,” and “working to eliminate rape, gender-based violence, sexual assault, and the sexual exploitation of women and children.” Id. § 7611(a)(12)(A), (F)-(G), (I)(J). Congress explicitly found that
[prostitution and other sexual victimization are degrading to women and children and it should be the policy of the United States to eradicate such practices. The sex industry, the trafficking of individuals into such industry, and sexual violence are additional causes of and factors in the spread of the HIV/ AIDS epidemic.
Id. § 7601(23).
In light of its goal to provide funding for “private sector efforts and expanding public-private sector partnerships to combat HIV/AIDS,” id. § 7603(4), and its strategy of doing so, in part, by “encouraging monogamy and faithfulness,” “educating men and boys about the risks of procuring sex commercially,” and “working to eliminate ... the sexual exploitation of women and children,” id. § 7611(a)(12)(A), (F), (J), Congress imposed two conditions on Leadership Act funds that are relevant to this case. First, Congress provided that no funds “may be used to promote or advocate the legalization or practice of prostitution or sex trafficking.” Id. § 7631(e). Second, Congress provided that
[n]o funds ... may be used to provide assistance to any group or organization that does not have a policy explicitly opposing prostitution and sex trafficking, except that this subsection shall not apply to the Global Fund to Fight AIDS, Tuberculosis and Malaria, the World Health Organization, the International AIDS Vaccine Initiative or to any United Nations agency.
Id. § 7631(f) (“Policy Requirement”). In this way, Congress ensured not only that no Leadership Act funds would be used to promote prostitution, but also that its “funds go only to organizations that share the Act’s disapproval of prostitution and sex trafficking.” DKT Int’l, Inc. v. U.S. Agency for Int’l Dev., 477 F.3d 758, 760 (D.C.Cir.2007).
Defendants the United States Department of Health and Human Services (“HHS”) and the United States Agency for International Development (“USAID”) (“Agencies”) implemented the Policy Requirement by promulgating certain regulations and directives. The current rules require that Leadership Act recipients agree in public announcements of the receipt of funds, and in funding award documents, “that they are opposed to the practices of prostitution and sex trafficking because of the psychological and physical risks they pose for women, men, and children.” HHS Organizational Integrity of Entities Implementing Programs &amp; Activities Under the Leadership Act, 45 C.F.R. § 89.1 (2010); see also U.S. Agency for Int’l Dev., AAPD 05-04 Amendment 3, Implementation of the [Leadership Act]— Eligibility Limitation on the Use of Funds &amp; Opposition to Prostitution &amp; Sex Trafficking ¶ 2(A)(1), Attachment A (2010) [hereinafter USAID APPD]. The Agencies also promulgated organizational integrity guidelines and guidance (“Guidelines”), which allow a recipient of Leadership Act funds to maintain an affiliation with an organization that lacks the anti-prostitution policy required by 22 U.S.C. § 7631(f). The Guidelines require the recipient to “have objective integrity and independence” from any affiliate that “engages in activities inconsistent with the recipient’s opposition to ... prostitution.” 45 C.F.R. § 89.3; see also USAID APPD ¶4®. “Objective integrity and independence” will be found if the affiliate receives no transfer of Leadership Act funds from the recipient and the recipient “is, to the extent practicable in the circumstances, sepa*242rate from the affiliated organization.” 45 C.F.R. § 89.3(a)-(b); see also USAID APPD ¶ 4(B). “[Sufficient separation” will be determined “on a case-by-case basis ... based on the totality of the facts,” including by examining five non-exclusive factors. 45 C.F.R. § 89.3(b); see also USAID APPD ¶4(8). The factors listed are: (1) legal separation of the affiliate, (2) “[t]he existence of separate personnel,” (3) “[t]he existence of separate accounting and timekeeping records,” (4) “[t]he degree of separation of ... facilities,” and (5) “[t]he extent to which signs and other forms of identification that distinguish the recipient from the affiliated organization are present.” 45 C.F.R. § 89.3(b)(l)-(5); see also USAID APPD ¶ 4(B).
II
Plaintiffs’ challenges to the Policy Requirement in this case are grounded in two substantive restrictions on government conduct imposed by the First Amendment: the prohibition against compelled speech and the prohibition against viewpoint discrimination. Because the Policy Requirement is not a direct restriction on speech, but rather only a condition on the receipt of a federal subsidy, I analyze Plaintiffs’ First Amendment challenges through the prism of the “unconstitutional conditions” doctrine as it has been applied in the government subsidy context. As background, I first discuss the underlying First Amendment substantive restrictions at issue and then the development of the “unconstitutional conditions” doctrine in the context of government subsidies.
A
The First Amendment to the United States Constitution provides that “Congress shall make no law ... abridging the freedom of speech.” U.S. Const, amend. I. There is no question that “the right of freedom of thought protected by the First Amendment against state action includes both the right to speak freely and the right to refrain from speaking at all.” Wooley v. Maynard, 430 U.S. 705, 714, 97 S.Ct. 1428, 51 L.Ed.2d 752 (1977); see also Int’l Dairy Foods Ass’n v. Amestoy, 92 F.3d 67, 71 (2d Cir.1996) (discussing constitutional right not to speak). In fact, the Supreme Court has suggested, without holding, that the government may be required to assert an even more compelling interest when it infringes the right to refrain from speaking than is required when it infringes the right to speak. See W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 633, 63 S.Ct. 1178, 87 L.Ed. 1628 (1943) (“It would seem that involuntary affirmation could be commanded only on even more immediate and urgent grounds than silence.”). The Supreme Court has struck down government attempts to directly compel school children to recite the Pledge of Allegiance on pain of expulsion from public school, see id. at 629, 63 S.Ct. 1178, or to compel drivers to bear a state’s motto on their license plates on pain of a monetary fine, see Wooley, 430 U.S. at 714-17, 97 S.Ct. 1428. The Court also has invalidated a state’s attempt to indirectly compel speech through the denial of an independent, already-existing tax exemption. See Speiser v. Randall, 357 U.S. 513, 518-19, 78 S.Ct. 1332, 2 L.Ed.2d 1460 (1958).
The First Amendment also prohibits the government from directly regulating “speech based on its substantive content or the message it conveys.” Rosenberger v. Rector &amp; Visitors of Univ. of Va., 515 U.S. 819, 828, 115 S.Ct. 2510, 132 L.Ed.2d 700 (1995). “In the realm of private speech or expression, government regulation may not favor one speaker over another.” Id. “Discrimination against speech because of its message is presumed to be unconstitutional.” Id. Viewpoint-based restrictions *243“raise[] the specter that the government may effectively drive certain ideas or viewpoints from the marketplace.” Simon &amp; Schuster, Inc. v. Members of N.Y. State Crime Victims BdL, 502 U.S. 105, 116, 112 S.Ct. 501, 116 L.Ed.2d 476 (1991). “The First Amendment presumptively places this sort of discrimination beyond the power of the government.” Id.
B
When the government does not directly regulate speech, but only implicates First Amendment interests through conditions on federal spending, a different framework applies. The Spending Clause of the United States Constitution provides that “Congress shall have Power To lay and collect Taxes, Duties, Imposts and Excises, to pay the Debts and provide for the common Defence and general Welfare of the United States.” U.S. Const, art. I, § 8, cl. 1. This provision allows Congress not only to provide federal subsidies to advance its policy goals, but also to “attach conditions on the receipt of federal funds.” South Dakota v. Dole, 483 U.S. 203, 206, 107 S.Ct. 2793, 97 L.Ed.2d 171 (1987). Congress “has repeatedly employed the power to further broad policy objectives by conditioning receipt of federal moneys upon compliance by the recipient with federal statutory and administrative directives.” Id. (internal quotation marks omitted). For constitutional purposes, a federal subsidy program is fundamentally different from “direct state interference” with a particular activity. See Maher v. Roe, 432 U.S. 464, 475, 97 S.Ct. 2376, 53 L.Ed.2d 484 (1977). “Constitutional concerns are greatest when the State attempts to impose its will by force of law; the State’s power to encourage actions deemed to be in the public interest is necessarily far broader.” Id. at 476, 97 S.Ct. 2376. As a result, “the Government may allocate competitive funding according to criteria that would be impermissible were direct regulation of speech or a criminal penalty at stake.” Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 587-88, 118 S.Ct. 2168, 141 L.Ed.2d 500 (1998). Subsidy conditions, absent special circumstances, “cannot be subject to the least- or less-restrictive means mode of analysis— which, like the undue burden test ..., is more appropriate for assessing the government’s direct regulation of a fundamental right — when the government creates a federal spending program.” Brooklyn Legal Sens. v. Legal Sens. Corp., 462 F.3d 219, 229 (2d Cir.2006), cert. denied, 552 U.S. 810, 128 S.Ct. 44, 169 L.Ed.2d 11 (2007).
The government’s power to impose conditions on federal subsidies is not unlimited. The “unconstitutional conditions” doctrine provides, in the First Amendment context, that “the government may not deny a benefit to a person on a basis that infringes his constitutionally protected ... freedom of speech even if he has no entitlement to that benefit.” Rumsfeld v. Forum for Academic &amp; Institutional Rights, Inc., 547 U.S. 47, 59, 126 S.Ct. 1297, 164 L.Ed.2d 156 (2006) (internal quotation marks omitted) [hereinafter FAIR ]; see Perry v. Sindermann, 408 U.S. 593, 597-98, 92 S.Ct. 2694, 33 L.Ed.2d 570 (1972) (reaffirming that the government may not terminate an employee based on the exercise of First Amendment rights because “if the government could deny a benefit to a person because of his constitutionally protected speech or associations, his exercise of those freedoms would in effect be penalized and inhibited”). The “unconstitutional conditions” doctrine does not, however, give rise to a constitutional claim in its own right; the condition must actually cause a violation of a substantive First Amendment right. See FAIR, 547 U.S. at 59-60, 126 S.Ct. 1297 (declining to address unconstitutional conditions issue because no underlying constitutional violation *244would arise from direct restriction); cf. Kathleen M. Sullivan, Unconstitutional Conditions, 102 Harv. L.Rev. 1413, 1427 (1989) (explaining that “constitutional interest at issue must rise to the level of a recognized right — indeed, a preferred right normally protected by strict judicial review”). The purpose of the “unconstitutional conditions” doctrine in the government subsidy context, therefore, is to provide guidance on when a subsidy condition actually “infringes [a person’s] ... constitutionally protected ... freedom of speech,” FAIR, 547 U.S. at 59, 126 S.Ct. 1297. See Regan v. Taxation With Representation, 461 U.S. 540, 548, 103 S.Ct. 1997, 76 L.Ed.2d 129 (1983) (explaining that heightened scrutiny is not required of all conditions on government funding or tax exemptions that merely “ ‘affect [ ] First Amendment rights’ ” (quoting Taxation With Representation v. Regan, 676 F.2d 715, 728 (D.C.Cir.1982)) (emphasis added in Supreme Court opinion)); Speiser, 357 U.S. at 518, 78 S.Ct. 1332 (noting that the denial of a tax exemption “may ... infringe speech”).
The “unconstitutional conditions” doctrine was applied in the context of a First Amendment challenge to the denial of a government benefit in Speiser. In that case, the State of California attempted to require veterans otherwise eligible for a property tax exemption to sign a loyalty oath stating that they did not advocate the violent overthrow of the government. The Supreme Court first observed that “[i]t is settled that speech can be effectively limited by the exercise of the taxing power. To deny an exemption to claimants who engage in certain forms of speech is in effect to penalize them for such speech. Its deterrent effect is the same as if the State were to fine them for this speech.” Speiser, 357 U.S. at 518, 78 S.Ct. 1332 (citation omitted). Therefore, the Court concluded that the fact that “a tax exemption is a ‘privilege’ or ‘bounty5 ” does not mean that “its denial may not infringe speech.” Id. at 518, 78 S.Ct. 1332. The Court explained that in Speiser, “the denial of a tax exemption for engaging in certain speech necessarily will have the effect of coercing the claimants to refrain from the proscribed speech. The denial is ‘frankly aimed at the suppression of dangerous ideas.’ ” Id. at 519, 78 S.Ct. 1332 (quoting Am. Commc’ns Ass’n, C.I.O. v. Douds, 339 U.S. 382, 402, 70 S.Ct. 674, 94 L.Ed. 925 (1950)). Having characterized the condition as tantamount to a fine, the Court struck it down pursuant to the Due Process Clause of the Fourteenth Amendment for lacking sufficient procedural protections. Id. at 520-29, 78 S.Ct. 1332.
In Taxation With Representation, the Supreme Court was called on to apply Speiser in the context of a condition on nonprofit groups’ ability to retain tax-favored status. Specifically, the Court addressed whether Congress’s prohibition on lobbying by nonprofit organizations that were allowed to receive tax-deductible contributions amounted to an unconstitutional condition on the organizations’ ability to receive tax-deductible money. See Taxation With Representation, 461 U.S. at 545, 103 S.Ct. 1997. While lobbying is clearly protected by the First Amendment, see E.R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127, 137-38, 81 S.Ct. 523, 5 L.Ed.2d 464 (1961), the Court disagreed with the argument that the government had violated nonprofit groups’ First Amendment rights by declining to “pay for the lobbying out of public monies,” Taxation With Representation, 461 U.S. at 545, 103 S.Ct. 1997. The Court “reject[ed] the ‘notion that First Amendment rights are somehow not fully realized unless they are subsidized by the State.’ ” Id. at 546, 103 S.Ct. 1997 (quoting Cammarano v. United States, 358 U.S. *245498, 515, 79 S.Ct. 524, 3 L.Ed.2d 462 (1959) (Douglas, J., concurring)). The Court reasoned that the condition was valid because Congress did “not deny [plaintiff Taxation With Representation (“TWR”) ] the right to receive deductible contributions to support its non-lobbying activity, nor does it deny TWR any independent benefit on account of its intention to lobby.” Id. Congress had not denied TWR the right to receive tax-deductible contributions to support non-lobbying activities because, despite Congress’s restriction, the law allowed TWR to use a dual structure whereby TWR could continue to receive tax-deductible contributions to conduct non-lobbying activities while an affiliate organization could conduct any lobbying activities with non-deductible funds. Id. at 544, 103 S.Ct. 1997Id. at 546, 103 S.Ct. 1997 (quoting Cammarano v. United States, 358 U.S. *245498, 515, 79 S.Ct. 524, 3 L.Ed.2d 462 (1959) (Douglas, J., concurring)). The Court reasoned that the condition was valid because Congress did “not deny [plaintiff Taxation With Representation (“TWR”) ] the right to receive deductible contributions to support its non-lobbying activity, nor does it deny TWR any independent benefit on account of its intention to lobby.” Id. Congress had not denied TWR the right to receive tax-deductible contributions to support non-lobbying activities because, despite Congress’s restriction, the law allowed TWR to use a dual structure whereby TWR could continue to receive tax-deductible contributions to conduct non-lobbying activities while an affiliate organization could conduct any lobbying activities with non-deductible funds. Id. at 544, 103 S.Ct. 1997. The Supreme Court explained that, therefore, “Congress has not infringed any First Amendment rights or regulated any First Amendment activity[;] Congress has simply chosen not to pay for TWR’s lobbying.” Id. at 546, 103 S.Ct. 1997.
The Supreme Court also rejected the claim that Congress had violated TWR’s constitutional rights by continuing to allow tax-exempt veterans’ organizations to lobby with tax-deductible contributions. Id. at 546^17, 103 S.Ct. 1997. Congress was free to “select[ ] ... particular entities or persons for entitlement to this sort of largesse [because the decision wa]s obviously a matter of policy and discretion not open to judicial review unless in circumstances which here we are not able to find.” Id. at 549, 103 S.Ct. 1997 (internal quotation marks omitted). The Court cautioned, however, that “[t]he case would be different if Congress were to discriminate invidiously in its subsidies in such a way ‘to aim at the suppression of dangerous ideas.’ ” Id. at 548, 103 S.Ct. 1997 (some internal quotation marks omitted) (quoting Cammarano, 358 U.S. at 513, 79 S.Ct. 524, in turn quoting Speiser, 357 U.S. at 519, 78 S.Ct. 1332). The Court found “no indication that the statute was intended to suppress any ideas or any demonstration that it has had that effect.” Id. It also explicitly rejected the holding of the Court of Appeals below that “ ‘strict scrutiny’ is required because the statute affect[s] First Amendment rights on a discriminatory basis.’ ” Taxation With Representation, 461 U.S. at 548, 103 S.Ct. 1997 (quoting Taxation With Representation v. Regan, 676 F.2d 715, 728 (D.C.Cir.1982)) (alteration and emphasis added in Supreme Court opinion). The Supreme Court explained that it “is not the law” that “strict scrutiny applies whenever Congress subsidizes some speech, but not all speech.” Id. Rather, “appropriations are comparable to tax exemptions and deductions, which are also a matter of grace [that] Congress can, of course, disallow ... as it chooses.” Id. at 549, 103 S.Ct. 1997 (internal quotation marks omitted). The Court emphasized again that “[w]here governmental provision of subsidies is not ‘aimed at the suppression of dangerous ideas,’ its ‘power to encourage actions deemed to be in the public interest is necessarily far broader.’ ” Id. at 550, 103 S.Ct. 1997 (quoting Cammarano, 358 U.S. at 513, 79 S.Ct. 524, and Maher, 432 U.S. at 476, 97 S.Ct. 2376, respectively).
In a concurrence, Justice Blackmun, joined by Justices Brennan and Marshall, pointed out that Congress had in reality “not merely den[ied] a subsidy for lobbying activities” as the Court had suggested, it had prohibited an organization from receiving “tax-deductible contributions for all its activities, whenever one of those activities is ‘substantial lobbying.’ ” Id. at 552, 103 S.Ct. 1997 (Blackmun, J., concurring). Justice Blackmun therefore urged that this restriction would in fact “den[y] a signifi*246cant benefit to organizations choosing to exercise their constitutional rights” and, as a result, would be an unconstitutional condition. Id. at 552 &amp; n. * 103 S.Ct. 1997. As support for this conclusion, Justice Blackmun cited, among other opinions, Justice Douglas’s concurrence in Cammarano, which noted that while Congress’s denial of a business-expense deduction for lobbying activities was constitutional, the denial of all business deductions for a taxpayer who lobbied, “would be placing a penalty on the exercise of First Amendment rights,” Cammarmo, 358 U.S. at 515, 79 S.Ct. 524 (Douglas, J., concurring) (cited in Taxation With Representation, 461 U.S. at 552 n. *, 103 S.Ct. 1997 (Black-mun, J., concurring)). Justice Blackmun’s Taxation With Representation concurrence went on to explain that the lobbying restriction in that case was saved by the fact that a nonprofit organization could create an affiliate to “make known its views on legislation ... without losing tax benefits for its nonlobbying activities.” Taxation With Representation, 461 U.S. at 553, 103 S.Ct. 1997. Because of this dual structure, Justice Blackmun explained that “the Court finds that Congress’ purpose in imposing the lobbying restriction was merely to ensure that ‘no tax-deductible contributions are used to pay for substantial lobbying.’ ” Id. at 553, 103 S.Ct. 1997.
Taxation With Representation therefore expanded in two ways on SpeiseVs initial discussion of the “unconstitutional conditions” doctrine as it applies to conditions on government benefits or subsidies that affect First Amendment rights. First, the Court noted that a funding condition would be unconstitutional if it operated as a coercive penalty on the exercise of First Amendment rights. The Court suggested two ways that a government condition could do this: (1) if it restricted a recipient’s First Amendment speech outside of the scope of the recipient’s participation in the government program (for example, by restricting TWR from lobbying even with non-deductible contributions), or (2) if it denied government benefits to which the recipient would otherwise be entitled and that are independent from those provided by the government program at issue (for example, by denying a property tax exemption for failure to take a loyalty oath). See id. at 545, 103 S.Ct. 1997. Second, Taxation With Representation cautioned that when the purpose of a condition is not to define the boundaries of federal spending, but rather to suppress certain viewpoints, the condition may be unconstitutional. See id. at 548,103 S.Ct. 1997. It is either as a coercive penalty or as viewpoint suppression, then, that the denial of a government benefit may “infringe [a person’s] constitutionally protected ... freedom of speech even if he has no entitlement to that benefit,” FAIR, 547 U.S. at 59, 126 S.Ct. 1297 (internal quotation marks omitted).
In the following two sections, I first address cases analyzing funding conditions as penalties on speech and then turn to cases discussing funding conditions alleged to impermissibly discriminate on the basis of viewpoint.
1
The term following its Taxation With Representation decision, the Supreme Court decided FCC v. League of Women Voters, 468 U.S. 364, 104 S.Ct. 3106, 82 L.Ed.2d 278 (1984), which underlined the importance of the affiliate structure available in Taxation With Representation. In League of Women Voters, the Supreme Court ruled that Congress’s prohibition on editorializing by any noncommercial broadcast station that received a federal grant was not “sufficiently limited ... to justify the substantial abridgment of important *247journalistic freedoms which the First Amendment jealously protects.” Id. at 402, 104 S.Ct. 3106. By denying federal grants to stations that editorialized, Congress had not merely refused to subsidize editorializing by public broadcasting stations, but rather it had caused a “station that receives only 1% of its overall income from [federal] grants [to be] barred absolutely from all editorializing.” Id. at 400, 104 S.Ct. 3106. “The station ha[d] no way of limiting the use of its federal funds to all noneditorializing activities, and, more importantly, it [wa]s barred from using even wholly private funds to finance its editorial activity.” Id. The Court explicitly noted, however, that if Congress maintained the restriction but allowed broadcast stations to establish affiliate organizations to editorialize with nonfederal money, “such a statutory mechanism would plainly be valid under the reasoning of Taxation With Representation.” Id. The Court in League of Women Voters, therefore, as both the Taxation With Representation Court, 461 U.S. at 544-46, 103 S.Ct. 1997, and Justice Blackmun concurring in that case, id. at 552-53, 103 S.Ct. 1997, had suggested, concluded that a federal funding condition that not only limited the scope of the government program, but that also denied a recipient the right to spend private money in support of protected First Amendment activities, went too far.
In Rust v. Sullivan, 500 U.S. 173, 111 S.Ct. 1759, 114 L.Ed.2d 233 (1991), the Supreme Court applied the “unconstitutional conditions” doctrine in the context of a subsidy program that appropriated grants to healthcare organizations to operate family planning projects. Congress conditioned the grants with the restriction that none of the federal funds were to be “ ‘used in programs where abortion is a method of family planning,’ ” id. at 178, 111 S.Ct. 1759 (quoting 42 U.S.C. § 300a-6). The Supreme Court upheld agency regulations preventing federally funded projects from providing abortion counseling or “engaging in activities that ‘encourage, promote or advocate abortion as a method of family planning.’ ” Id. at 180, 111 S.Ct. 1759 (quoting 42 C.F.R. § 59.10(a) (1989)). The Court ruled that the regulations did “not force the ... grantee to give up abortion-related speech; they merely require[d] that the grantee keep such activities separate and distinct from [government-funded] activities.” Id. at 196, 111 S.Ct. 1759. When the government simply “insist[s] that public funds be spent for the purposes for which they were authorized,” “the [g]overnment is not denying a benefit to anyone” and there is no unconstitutional penalty on free speech. Id. The Court noted that the regulations in Rust continued to allow healthcare organizations to advocate for abortion; they “simply [were] required to conduct those activities through programs that [were] separate and independent from the project that receives [federal] funds.” Id. In this way, the regulations in Rust were like those in Taxation With Representation that allowed for protected lobbying to continue with non-deductible contributions, and unlike those in League of Women Voters that prohibited stations from editorializing even with private funds. See id. at 197-98, 111 S.Ct. 1759. The Rust Court explained that
[b]y requiring that the [federal program] grantee engage in abortion-related activity separately from activity receiving federal funding, Congress has, consistent with our teachings in League of Women Voters and [Taxation With Representation], not denied it the right to engage in abortion-related activities. Congress has merely refused to fund such activities out of the public fisc, and the Secretary has simply required a certain degree of separation from the [fed*248erally funded] project in order to ensure the integrity of the federally funded program.
Id. at 198, 111 S.Ct. 1759; see also Velazquez v. Legal Sews. Corp., 164 F.3d 757, 766 (2d Cir.1999) [hereinafter Velazquez I] (explaining that the restriction in Rust “was limited to speech at odds with the values Congress was seeking to advance through its grant program”), affd, 531 U.S. 533, 121 S.Ct. 1043, 149 L.Ed.2d 63 (2001).
Finally, in United States v. American Library Ass’n, 539 U.S. 194, 123 S.Ct. 2297, 156 L.Ed.2d 221 (2003), the Supreme Court upheld a law that denied public libraries funding to provide Internet access unless the libraries installed software to block access to obscenity and child pornography and to prevent children from accessing inappropriate material.1 The plurality opinion rejected the argument that the law imposed an unconstitutional condition on the receipt of federal funding because it “penalized] a library for failing to install filtering software on every one of its Internet-accessible computers.” Id. at 212, 123 S.Ct. 2297 (quoting id. at 226, 123 S.Ct. 2297 (Stevens, J., dissenting)). The plurality explained that the law
does not “penalize” libraries that choose not to install such software, or deny them the right to provide their patrons with unfiltered Internet access. Rather, [the law] simply reflects Congress’ decision not to subsidize their doing so. To the extent that libraries wish to offer unfiltered access, they are free to do so without federal assistance. A refusal to fund protected activity, without more, cannot be equated with the imposition of a “penalty” on that activity.
Id. (some internal quotation marks omitted). The plurality also expressly distinguished cases that “involved true penalties, such as denial of a promotion or outright discharge from employment,” from “non-subsidies,” like the one at issue in American Library Ass’n. Id. at 212 n. 6, 123 S.Ct. 2297.
In this way, American Library Ass’n was precisely in line with Speiser, Taxation With Representation, League of Women Voters, and Rust. When acting pursuant to its Spending Clause powers, Congress may attach conditions to federal subsidies that have the effect of limiting recipients’ First Amendment rights, as long as the conditions do not limit free speech outside of the scope of the government program and do not deny independent benefits to which recipients are otherwise entitled in an attempt to penalize First Amendment activity. Even when funding conditions limit or affect speech, such limits are generally permissible if they are meant only to ensure that government funds are used for the purposes for which they were authorized. This is because, absent special circumstances, there is no coercive force behind a funding condition that is truly cabined to the federal subsidy program to which it is attached. If potential recipients do not wish to abide by the condition, they can simply choose not to accept the funds. See Am. Library Ass’n, 539 U.S. at 212, 123 S.Ct. 2297 (“To the extent that libraries wish to offer unfiltered access, they are free to do so without federal assistance.”); Rust, 500 U.S. at 199, 111 S.Ct. 1759 (“[T]his limitation is a consequence of their decision to accept employment in a project, the scope of which is permissibly restricted by the funding authority.”); id. at 199 n. 5, 111 *249S.Ct. 1759 (“[Subsidies are just that, subsidies. The recipient is in no way compelled to operate a [federally funded] project; it can simply decline the subsidy.”); Grove City College v. Bell, 465 U.S. 555, 575, 104 S.Ct. 1211, 79 L.Ed.2d 516 (1984) (“Grove City may terminate its participation in the [federal] program and thus avoid the requirements of [the condition].”); cf. Christian Legal Soc’y Chapter of Univ. of Cal., Hastings Coll, of Law v. Martinez, — U.S. -, 130 S.Ct. 2971, 2986, 177 L.Ed.2d 838 (2010) (“[Plaintiff] in seeking what is effectively a state subsidy, faces only indirect pressure to modify its membership policies.”); Guardians Ass’n v. Civil Serv. Comm’n, 463 U.S. 582, 586, 103 S.Ct. 3221, 77 L.Ed.2d 866 (1983) (plurality opinion) (“[T]he receipt of federal funds under typical Spending Clause legislation is a consensual matter: the State or other grantee weighs the benefits and burdens before accepting the funds and agreeing to comply with the conditions attached to their receipt.”); Pennhurst State Sch. &amp; Hosp. v. Haldeiman, 451 U.S. 1, 17, 27, 101 S.Ct. 1531, 67 L.Ed.2d 694 (1981) (explaining that “legislation enacted pursuant to the spending power is much in the nature of a contract; in return for federal funds, the [recipient] States agree to comply with federally imposed conditions” and concluding that “the court below failed to recognize the well-settled distinction between congressional ‘encouragement’ of state programs and the imposition of binding obligations on the States”). This is why it is usually the case that “Congress may burden the First Amendment rights of recipients of government benefits if the recipients are left with adequate alternative channels for protected expression.” Velazquez I, 164 F.3d at 766; accord Brooklyn Legal Servs. Corp. v. Legal Servs. Corp., 462 F.3d 219, 231 (2d Cir. 2006), cert. denied, 552 U.S. 810, 128 S.Ct. 44,169 L.Ed.2d 11 (2007). When adequate alternative channels are available, any restrictions on protected First Amendment activity imposed within the scope of the federal program only apply to that federally funded program and therefore are not the equivalent of direct restrictions or “true penalties,” Am. Library Ass’n, 539 U.S. at 212 n. 6, 123 S.Ct. 2297. See Brooklyn Legal Servs., 462 F.3d at 231; Velazquez I, 164 F.3d at 766.
2
Speiser and Taxation With Representation also emphasize that funding conditions may be unconstitutional if they “discriminate invidiously ... in such a way as to ‘aim at the suppression of dangerous ideas,’ ” Regan v. Taxation With Representation, 461 U.S. 540, 550, 103 S.Ct. 1997, 76 L.Ed.2d 129 (1983) (quoting Cammarano, 358 U.S. at 513, 79 S.Ct. 524). The Supreme Court and this Court have addressed claims that funding conditions impermissibly discriminate on the basis of viewpoint in Rust, Rosenberger, Finley, the Velazquez cases, and American Library Ass’n.
In Rust, recipients of the family planning grants argued that the regulations restricting federal funds from being used for abortion services constituted impermissible viewpoint discrimination in favor of an anti-abortion position. 500 U.S. at 192, 111 S.Ct. 1759. Relying on Taxation With Representation, they argued that because the government “continue[d] to fund speech ancillary to pregnancy testing in a manner that is not evenhanded with respect to views and information about abortion, it invidiously discriminates on the basis of viewpoint.” Id. (internal quotation marks omitted). The Supreme Court rejected this challenge and found that Congress had not discriminated in favor of an anti-abortion position, but had “merely chosen to fund one activity to the exclusion *250of the other.” Id. at 193, 111 S.Ct. 1759. The Court reiterated that “ ‘[tjhere is a basic difference between direct state interference with a protected activity and state encouragement of.an alternative activity consonant with legislative policy.’ ” Id. (quoting Maher v. Roe, 432 U.S. 464, 475, 97 S.Ct. 2376, 53 L.Ed.2d 484 (1977)). In other words, Rust was “not a case of the Government ‘suppressing a dangerous idea,’ but of a prohibition on a project grantee or its employees from engaging in activities outside of the project’s scope,” id. at 194, 111 S.Ct. 1759. This was so even though it cannot be denied that the scope of the government-funded project in Rust necessarily limited recipients’ ability to advocate a pro-abortion viewpoint within the scope of the government program.2
The Court applied Rust in the context of the provision of public-university funds to student groups in Rosenberger v. Rector &amp; Visitors of University of Virginia, 515 U.S. 819, 115 S.Ct. 2510, 132 L.Ed.2d 700 (1995). In that case, the University of Virginia denied funding from its Student Activities Fund to a student organization that wished to publish a newspaper that advocated Christian viewpoints. The Supreme Court analogized the Student Activities Fund to creating a “metaphysical” limited public forum for student speech. Id. at 829-30, 115 S.Ct. 2510Id. at 829-30, 115 S.Ct. 2510. The Court explained that once the State “has opened a limited forum, ... the State must respect the lawful boundaries it has itself set. The State may not exclude speech where its distinction is not reasonable in light of the purpose served by the forum, nor may it discriminate against speech on the basis of its viewpoint.” Id. at 829, 115 S.Ct. 2510 (internal citations and quotation marks omitted). The Supreme Court rejected the University’s attempt to rely on Rust for the proposition that it could make content-based funding decisions when necessary to accomplish its educational mission. Id. at 832-33, 115 S.Ct. 2510. In so doing, the Court acknowledged that it was true that “we have permitted the government to regulate the content of what is or is not expressed when it is the speaker or when it enlists private entities to convey its own message.” Id. at 833, 115 S.Ct. 2510. The Court pointed to Rust as a case where
the government did not create a program to encourage private speech but instead used private speakers to trans-
*251mit specific information pertaining to its own program. We recognized that when the government appropriates public funds to promote a particular policy of its own it is entitled to say what it wishes. When the government disburses public funds to private entities to convey a governmental message, it may take legitimate and appropriate steps to ensure that its message is neither garbled nor distorted by the grantee.
Id. (internal citations omitted). The Court explained, however, that it had never held that “viewpoint-based restrictions are proper when the University does not itself speak or subsidize transmittal of a message it favors but instead expends funds to encourage a diversity of views from private speakers.” Id. at 834, 115 S.Ct. 2510. In sum, because the University offered funds to student groups specifically to “encourage a diversity of views from private speakers” and intended to facilitate the speech of private “speakers who convey their own messages,” the University could not, having created a quasi-limited public forum for student speech, then “silence the expression of selected viewpoints.” Id. at 834-35,115 S.Ct. 2510.
The Court had an opportunity to further explain Rosenberger in National Endowment for the Arts v. Finley, 524 U.S. 569, 118 S.Ct. 2168, 141 L.Ed.2d 500 (1998). In that case, Congress directed the National Endowment for the Arts (“NEA”) to consider “general standards of decency and respect for the diverse beliefs and values of the American public” in determining whether to award federal grants to artists. Id. at 572, 118 S.Ct. 2168. Performance artists who were denied funding claimed that the funding condition constituted viewpoint discrimination against art that offended standards of decency or did not respect mainstream values. Id. at 580,118 S.Ct. 2168. The Supreme Court rejected this challenge and concluded that Congress’s restriction would not “give rise to the suppression of protected expression.” Id. at 585, 118 S.Ct. 2168. In so doing, the Supreme Court distinguished the nature of the program at issue in Finley with that in Rosenberger. The Supreme Court explained that in Rosenberger, the government “indiscriminately ‘encourage[d] a diversity of views from private speakers.’ ” Id. at 586, 118 S.Ct. 2168 (quoting Rosenberger, 515 U.S. at 834, 115 S.Ct. 2510). In Finley, on the other hand, the NEA was mandated to “make esthetic judgments” that were “inherently content-based.” Id. The purpose of the program, therefore, set the NEA subsidy “apart from the subsidy at issue in Rosenberger— which was available to all student organizations ... and from comparably objective decisions on allocating public benefits, such as access to a school auditorium or a municipal theater, or the second class mailing privileges available to all newspapers and other periodical publications” at issue in other cases where viewpoint discrimination was found impermissible. Id. (internal citations and quotation marks omitted). The Supreme Court reiterated its warning that, nevertheless, the government may not “leverage its power to award subsidies on the basis of subjective criteria into a penalty on disfavored viewpoints,” and may not aim at the suppression of dangerous ideas. Id. at 587, 118 S.Ct. 2168. Having found no evidence of such suppression, however, the logic of Rust v. Sullivan, 500 U.S. 173, 111 S.Ct. 1759, 114 L.Ed.2d 233 (1991), applied: The government was free to “allocate competitive funding according to criteria that would be impermissible were direct regulation of speech or a criminal penalty at stake.” Id. at 587-88, 118 S.Ct. 2168 (relying in part on Rust, 500 U.S. at 193, 111 S.Ct. 1759); accord Brooklyn Legal Sens., 462 F.3d at 230 (“[T]he government may allocate com*252petitive funding according to criteria that would be impermissible were direct regulation of speech at stake.”).
Our Court was called on to apply these cases in Velazquez I, 164 F.3d 757 (2d Cir.1999). In that case, lawyers employed by grantees of the Legal Services Corporation (“LSC”)3 challenged a law that barred LSC funds from being used to perform various activities, including lobbying, participating in class actions, seeking attorneys’ fees, or seeking to reform or challenge existing welfare laws. We first analyzed Taxation With Representation, FCC v. League of Women Voters, 468 U.S. 364, 104 S.Ct. 3106, 82 L.Ed.2d 278 (1984), and Rust and summarized those cases as providing that “in appropriate circumstances, Congress may burden the First Amendment rights of recipients of government benefits if the recipients are left with adequate alternative channels for protected expression.” Velazquez I, 164 F.3d at 766. We upheld all of the restrictions at issue from a facial challenge that they burdened the recipients’ ability to use private funds to engage in First Amendment protected activity. Id. at 765-67. We relied on the teaching of Taxation With Representation and League of Women Voters (and the fact that “Rust is consistent with these cases”) that subsidy restrictions are acceptable if there are “adequate alternative avenues for expression through affiliates.” Id. at 766-67. We left for a future case, ultimately Brooklyn Legal Services, 462 F.3d at 219, 222-23, the question whether the alternatives provided under the LSC program were in fact adequate in the context of an as-applied challenge. See infra at 263.
In Velazquez I, we also upheld almost all of the restrictions against a viewpoint discrimination challenge because we found that they were in fact viewpoint neutral. 164 F.3d at 767-69. However, we concluded that the limitation that precluded a lawyer who received LSC funds from challenging an existing welfare rule in a suit on behalf of a client for welfare benefits was not viewpoint neutral. We noted that the restriction “clearly seeks to discourage challenges to the status quo.” Id. at 770. The majority declined to follow then-Judge Jacobs’s view, concurring in part and dissenting in part, that whether viewpoint discrimination was permissible in the context of the proviso at issue turned on whether the government, through funding the LSC, sought to promote a diversity of private views as it had done in Rosenberger. See id. at 775-77 (Jacobs, J., concurring in part, dissenting in part) (arguing additionally that the proviso was viewpoint neutral). Judge Jacobs concluded that the LSC program was not created to fund a diversity of private views and that when the government does not “create[ ] a limited public forum for the expression of diverse viewpoints,” id. at 774, “the principle[ jexplicitly announced in Rust and not implicated by the facts of Rosenberger” applies: “[Wjhen the government funds specific services it deems to be in the public interest, it may require grantees to get with its program,” id. at 776. The majority, on the other hand, reasoned that Rust’s conclusion that the government in that case had “not discriminated on the basis of viewpoint; it has merely chosen to fund one activity to the exclusion of the other,” Rust, 500 U.S. at 193, 111 S.Ct. 1759, could not “reliably be taken at face value,” Velazquez I, 164 F.3d at 770. In*253stead of adopting Judge Jacobs’s framework, the majority focused on the type of speech at issue, noting that criticism of government policy garners the strongest First Amendment protection. Id. at 771. Because the majority found that a lawyer’s argument that a welfare statute is invalid was closer to criticism of official policy than to the type of speech at issue in cases where the Supreme Court had rejected viewpoint discrimination challenges (abortion counseling in Rust and indecent art in Finley), it held that the restriction on challenging welfare laws was subject to strict First Amendment scrutiny. Id. at 771-72.
Granting certiorari in Legal Services Gorp. v. Velazquez, 531 U.S. 533, 121 S.Ct. 1043, 149 L.Ed.2d 63 (2001) [hereinafter Velazquez II], the Supreme Court appeared generally to endorse Judge Jacobs’s framework for comparing the LSC restrictions with the restrictions at issue in Rust and Rosenberger, although it disagreed with Judge Jacobs’s conclusion that the LSC program was more like the former than the latter. The Supreme Court explained that while the Rust Court “did not place explicit reliance on the rationale that counseling services of the doctors under Title X amounted to governmental speech ... we have explained Rust on this understanding.” Velazquez II, 531 U.S. at 541, 121 S.Ct. 1043. The Court therefore noted that “viewpoint-based funding decisions can be sustained in instances in which the government is itself the speaker, or instances, like Rust, in which the government ‘used private speakers to transmit specific information pertaining to its own program.’ ” Velazquez II, 531 U.S. at 542, 121 S.Ct. 1043 (internal citation omitted) (quoting Rosenberger, 515 U.S. at 833, 115 S.Ct. 2510). The Court contrasted those cases with a situation in which the government “ ‘does not itself speak or subsidize transmittal of a message it favors but instead expends funds to encourage a diversity of views from private speakers.’ ” Id. at 542, 121 S.Ct. 1043 (quoting Rosenberger, 515 U.S. at 834, 115 S.Ct. 2510). In the latter case, “ ‘it does not follow ... that viewpoint-based restrictions are proper.’ ” Id. (quoting Rosenberger, 515 U.S. at 834, 115 S.Ct. 2510) (omission in Velazquez II). The Court acknowledged that the LSC program was different from the Student Activities Fund at issue in Rosenberger because the LSC program did not seek to “encourage a diversity of views,” but concluded that “the salient point is that, like the program in Rosenberger, the LSC program was designed to facilitate private speech, not to promote a governmental message.” Id. at 542, 121 S.Ct. 1043. The private nature of the speech facilitated was underlined by the fact that the government sought “to use an existing medium of expression” — the lawyer — client relationship — “and to control it, in a class of cases, in ways which distort its usual functioning.” Id. at 543, 121 S.Ct. 1043.
The Velazquez II Court also rejected the government’s argument that the restriction on suits challenging welfare laws was “necessary to define the scope and contours of the federal program” and “help[ ] the current welfare system function in a more efficient and fair manner by removing from the program complex challenges to existing welfare laws.” Id. at 547, 121 S.Ct. 1043. The Court ruled that “Congress cannot recast a condition on funding as a mere definition of its program in every case, lest the First Amendment be reduced to a simple semantic exercise.” Id. The Court explained that “in the context of this statute, there is no programmatic message of the kind recognized in Rust and which sufficed there to allow the Government to specify the advice deemed necessary for its legitimate objectives.” *254Id. at 548, 121 S.Ct. 1043. In ultimately holding the restriction invalid, the Court emphasized that “[w]here private speech is involved, even Congress’ antecedent funding decision cannot be aimed at the suppression of ideas thought inimical to the Government’s own interest.” Id. at 548-49, 121 S.Ct. 1043 (citing Regan v. Taxation With Representation, 461 U.S. 540, 548, 103 S.Ct. 1997, 76 L.Ed.2d 129 (1983), and Speiser v. Randall, 357 U.S. 513, 519, 78 S.Ct. 1332, 2 L.Ed.2d 1460 (1958)).
Finally, in United States v. American Library Ass’n, 539 U.S. 194, 123, S.Ct. 2297, 156 L.Ed.2d 221 (2003), a plurality of the Court explicitly rejected the argument that Velazquez II limited Rust to eases “‘in which the government seeks to communicate a specific message.’ ” Id. at 213 n. 7, 123 S.Ct. 2297 (quoting id. at 228, 123 S.Ct. 2297 (Stevens, J., dissenting)). Dissenting, Justice Stevens relied on Velazquez II to argue that the condition requiring public libraries to install filtering software was an attempt to “distort[ ] th[e] medium” of “Internet-accessible computers.” Id. at 227-28, 123 S.Ct. 2297. Justice Stevens rejected the American Library Ass’n plurality’s assertion that Rust allowed Congress to restrict the scope of its own subsidy programs by arguing that “Rust only involved, and only applies to, instances of governmental speech — that is, situations in which the government seeks to communicate a specific message.” Id. at 228, 123 S.Ct. 2297. The plurality, however, explained that “Velazquez held only that viewpoint-based l’estrictions are improper ‘when the [government] does not itself speak or subsidize transmittal of a message it favors but instead expends funds to encourage a diversity of views from private speakers,”’ id. at 213 n. 7, 123 S.Ct. 2297 (quoting Velazquez II, 531 U.S. at 542, 121 S.Ct. 1043) (emphasis added in American Library Ass’n). The plurality reasoned that Velazquez II did not apply in American Library Ass’n because “public libraries do not install Internet terminals to provide a forum for Web publishers to express themselves, but rather to provide patrons with online material of requisite and appropriate quality.” Id.
Ill
In this case, the majority concludes that the Policy Requirement “warrants heightened scrutiny” because it is a “bold combination in a funding condition of a speech-targeted restriction that is both affirmative and quintessentially viewpoint-based.” Maj. Op. at 236. However, the Policy Requirement is a permissible funding condition under the “unconstitutional conditions” doctrine as it has been applied in the government subsidy context because it neither imposes a penalty on protected First Amendment rights nor discriminates in a way aimed at the suppression of ideas. Furthermore, the viewpoint-based nature of the Policy Requirement is entirely proper because no public forum principles are implicated in this case.
A
Although it is obvious, it must be noted at the outset that the Policy Requirement does not actually compel anyone to speak the government’s favored viewpoint. The Policy Requirement is a condition on the voluntary receipt of Leadership Act funds — funds which are available only to groups that wish to participate in the government’s “global strateg[y] to combat HIV/AIDS,” 22 U.S.C. § 7603(1). The Supreme Court has explained that “[t]here is a basic difference between direct state interference with a protected activity and state encouragement of an alternative activity consonant with legislative policy.” Maher v. Roe, 432 U.S. 464, 475, 97 S.Ct. 2376, 53 L.Ed.2d 484 (1977); see also Tax*255ation With Representation, 461 U.S. at 550, 103 S.Ct. 1997 (“Although TWR does not have as much money as it wants, and thus cannot exercise its freedom of speech as much as it would like, the Constitution does not confer an entitlement to such funds as may be necessary to realize all the advantages of that freedom.” (internal quotation marks omitted)); id. at 549, 103 S.Ct. 1997 (“[A] legislature’s decision not to subsidize the exercise of a fundamental right does not infringe the right, and thus is not subject to strict scrutiny.”); id. (noting that government appropriations, like tax deductions, are “a matter of grace [that] Congress can, of course, disallow ... as it chooses” (internal quotation marks omitted)). “In diverse contexts, [the Supreme Court’s] decisions have distinguished between policies that require action and those that withhold benefits.” Christian Legal Soc’y v. Martinez, — U.S. -, 130 S.Ct. 2971, 2986, 177 L.Ed.2d 838 (2010); see also Am. Library Ass’n, 539 U.S. at 212 n. 6, 123 S.Ct. 2297 (distinguishing “true penalties” from “non-subsidies”); ACORN v. United States, 618 F.3d 125, 137 (2d Cir.2010) (noting that for purposes of determining whether a law constitutes punishment in violation of the Bill of Attainder Clause “the plaintiffs are not prohibited from any activities; they are only prohibited from receiving federal funds to continue their activities”), cert. denied, — U.S.-, 131 S.Ct. 3026, 180 L.Ed.2d 865, 2011 WL 704331 (2011). In seeking to partner with organizations that oppose prostitution, Congress “is dangling the carrot of subsidy, not wielding the stick of prohibition.” Christian Legal Soc’y, 130 S.Ct. at 2986. Plaintiffs’ speech is not compelled because if Plaintiffs do not wish to ascribe to the Policy Requirement, they may simply chose not to seek Leadership Act funds. The Supreme Court has repeatedly concluded that a subsidy, temptation, or motive provided by the government is not, except in special circumstances, coercive and may simply be declined by any potential recipient. See cases cited supra at 248^19. “[S]ilence, or neutrality” is, in fact, “an option for Plaintiffs.” See Maj. Op. at 234.
Of course, Speiser and its progeny teach that, in some instances, the denial of a government benefit can have the same “deterrent effect” on free speech as the direct regulation of speech. See Speiser, 357 U.S. at 518, 78 S.Ct. 1332. The “unconstitutional conditions” doctrine provides the framework for analyzing when the denial of a government benefit rises to the level of an infringement on free speech. Despite engaging in a thorough discussion of “unconstitutional conditions” cases in the government subsidy context, the majority puts that doctrine aside and appears to conclude that when a funding condition imposes an affirmative rather than negative speech requirement, it always “raise[s] serious First Amendment concerns,” Maj. Op. at 234. As support for this proposition, the majority offers two pieces of evidence. First, the majority observes that West Virginia State Board of Education v. Barnette, 319 U.S. 624, 63 S.Ct. 1178, 87 L.Ed. 1628 (1943), Speiser, and Wooley v. Maynard, 430 U.S. 705, 97 S.Ct. 1428, 51 L.Ed.2d 752 (1977), were compelled speech cases where heightened scrutiny was applied or where the restrictions at issue were otherwise struck down. Second, the majority points to one sentence in FAIR, 547 U.S. 47, 126 S.Ct. 1297, 164 L.Ed.2d 156 (2006), that it believes suggests that affirmative-speech funding conditions “push[] beyond,” Maj. Op. at 234 n. 3, what the First Amendment allows.
First, as the majority recognizes, Barnette, Speiser, and Wooley are not cases where the government sought to appropriate public funds and then limit the scope of the subsidy program. Wooley and Bar*256nette have traditionally been described as cases of the government’s attempt to compel speech through the direct force of law. See, e.g., Johanns v. Livestock Mktg. Ass’n, 544 U.S. 550, 557, 125 S.Ct. 2055, 161 L.Ed.2d 896 (2005) (describing Barnette as a case of “outright compulsion of speech”). While those cases can be creatively recast, as the majority does, to be, along with Speiser, cases about conditions placed on the governmental benefits of “going to school” (Barnette) and “using the roads” (Wooley), the government’s attempt to deny the benefits in those cases was quite different from the Policy Requirement at issue here. In Barnette and Wooley, the only alternatives to accepting the government’s benefits would be not to go to public school or not drive on the public roads, respectively. The government, therefore, used its monopoly power over public education and the public roads to put recipients to a choice that was obviously coercive — there was no realistic alternative to accepting the conditions and giving up First Amendment rights. See Frost v. R.R. Comm’n, 271 U.S. 583, 593, 46 S.Ct. 605, 70 L.Ed. 1101 (1926) (explaining that the choice of whether to use the public highways or submit to a burden on constitutional rights gave the plaintiff “no choice, except a choice between the rock and the whirlpool”). In this case, Plaintiffs do not argue that Leadership Act funds are vital to their continued survival or even that they are the only source of funds to fight HIV/AIDS. Cf. Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 596-97, 118 S.Ct. 2168, 141 L.Ed.2d 500 (1998) (Scalia, J., concurring in the judgment) (viewing skeptically the potential argument that the denial of an entirely voluntary subsidy may constitute coercion equivalent to a direct compulsion to speak if it were the only source of a recipient’s funding). Moreover, in Barnette, Speiser, and Wooley, the threatened denial of a so-called government benefit turned on requiring the recipient to speak a message that was unrelated to the government benefit at issue. The government in those cases threatened the denial of an existing benefit (going to school, a property tax exemption, and using the roads, respectively) as a means of coercing recipients to give up First Amendment rights. The restrictions in Barnette, Speiser, and Wooley were not merely attempts to confine government spending to the scope of a subsidy program, of course, because there was no relevant subsidy program at all in those cases. Cf. Taxation With Representation, 461 U.S. at 545, 103 S.Ct. 1997 (“But TWR is just as certainly incorrect when it claims that this case fits the Speiser-Perry model.”). Therefore, the actual purposes of the government regulations were revealed and they were properly found invalid.
It is difficult to understand what relevance these cases can have to determining whether a true government subsidy condition is constitutional. Speiser, and particularly Barnette and Wooley, only provide the underlying substantive basis for Plaintiffs’ compelled speech claims in this case, just as in Taxation With Representation, for example, the underlying substantive doctrine provided that Congress would violate the First Amendment if it directly restricted the right to lobby, see id., 461 U.S. at 552, 103 S.Ct. 1997 (Blackmun, J., concurring) (citing E.R.R. Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127, 137-38, 81 S.Ct. 523, 5 L.Ed.2d 464 (1961), for the proposition that lobbying is a protected activity). The existence of an underlying substantive First Amendment prohibition, however, did not resolve the constitutionality of the condition at issue in Taxation With Representation; nor does it here. Rather, this case calls on us to determine whether, despite Con*257gress’s broad power to impose conditions on federal spending, a funding condition that imposes an affirmative speech requirement is so coercive as to equal a direct compulsion of speech. The majority need not struggle from a blank slate with determining the proper way to approach this question. The Supreme Court has already provided the framework for us in Taxation with Representation, Rust, and the entire line of cases applying the “unconstitutional conditions” doctrine in the government subsidies context.
None of those cases turned on whether the alleged speech restriction was affirmative or negative.4 Rather, the foundational principle of Taxation With Representation and Rust is that the government is allowed to “insist[ ] that public funds be spent for the purposes for which they were authorized,” Rust v. Sullivan, 500 U.S. 173, 196, 111 S.Ct. 1759, 114 L.Ed.2d 233 (1991). The Policy Requirement in this case does precisely that. Congress determined that as part of fighting “the spread of the HIV/ AIDS epidemic,” “it should be the policy of the United States to eradicate” “[pjrostitution.” 22 U.S.C. § 7601(23). It also determined that it desired to fight HIV/ AIDS specifically through a strategy of “reducing] HIV/AIDS behavioral risks” and “eliminatfingj ... the sexual exploitation of women and children.” Id § 7611(a)(12), (a)(12)(J). It therefore only authorized federal funds for organizations that shared its desire to affirmatively reduce HIV/AIDS behavioral risks, including its policy of eradicating prostitution. As a means to this end, the Agencies require recipients to affirm in funding award documents that they are in fact opposed to prostitution. The Policy Requirement is therefore precisely aimed at Congress’s goal. Congress did not determine in the Leadership Act that it wished to fight HIV/AIDS through a strategy of remaining neutral on the issue of prostitution and other behavioral risks that contribute to the HIV/AIDS epidemic and that it would implement that strategy by simply withholding funding from groups that support prostitution, of. id § 7631(e). Rather, it specifically wanted to “eradicate” prostitution and other behavioral risks. Id § 7601(23). While in Rust, Congress wished to not fund abortion activities through its family planning grants, here Congress sought to eradicate prostitution and decided to affirmatively fund only groups that shared its particular approach to fighting HIV/AIDS. It is perfectly within Congress’s Spending Clause powers to craft a condition that “insist[s] that public funds be spent for the purposes for which they were authorized,” Rust, 500 U.S. at 196, 111 S.Ct. 1759.
The second reason the majority concludes that affirmative speech requirements always “raise serious First Amendment concerns,” Maj. Op. at 234, is FAIR’s statement that “[tjhere is nothing in this case approaching a Government-mandated pledge or motto that the school must endorse,” FAIR, 547 U.S. at 61, 126 S.Ct. 1297. In FAIR, various law schools challenged Congress’s decision to withhold federal grants from educational institu*258tions that denied military recruiters access equal to that of other recruiters. Id. at 51, 126 S.Ct. 1297. The Supreme Court did not engage in an “unconstitutional conditions” analysis because it concluded that “the First Amendment would not prevent Congress from directly imposing the ... access requirement” on universities in any event. See id. at 59-60, 126 S.Ct. 1297 (declining to “determine when a condition placed on university funding goes beyond the reasonable choice offered in Grove City and becomes an unconstitutional condition” (internal quotation marks omitted)). In that context, the Supreme Court addressed the law schools’ argument that the access requirement constituted compelled speech because the schools were forced, if they sent e-mails and posted notices regarding other campus recruiters, to do the same for military recruiters. Id. at 61-62, 126 S.Ct. 1297. The Supreme Court set out the eompelled-speech doctrine pursuant to Barnette and Wooley and concluded that “recruiting assistance ... is a far cry from the compelled speech in Barnette and Wooley.” Id. at 62, 126 S.Ct. 1297. The Court explained that Congress’s restriction “does not dictate the content of the speech at all.... There is nothing in this case approaching a Government-mandated pledge or motto that the school must endorse.” Id. The Court therefore found that a necessary but not sufficient element of an unconstitutional funding condition was absent — there would be no underlying First Amendment violation if the condition was applied directly. The Court had no need to address whether a funding condition that required recipients to espouse a particular message would be constitutional under the First Amendment and said nothing about that issue. FAIR, therefore, has little relevance to the key issue in this case for the same reason that Barnette, Speiser, and Wooley are not determinative: There is a basic difference between the denial of government funding and a direct compulsion to speak.
B
Because there is a doctrine that precisely addresses whether a government subsidy condition is constitutional pursuant to the First Amendment, I would apply it here. The Policy Requirement imposes neither of the two types of burdens identified in Regan v. Taxation With Representation, 461 U.S. 540, 103 S.Ct. 1997, 76 L.Ed.2d 129 (1983), as penalizing free speech such that a subsidy condition approaches the coercive effects of a direct restriction. First, the Policy Requirement does not deny any independent government benefit to which Plaintiffs are otherwise entitled. The only consequence if Plaintiffs do not subscribe to the Leadership Act’s Policy Requirement is that they will not receive Leadership Act funds. This is unlike Speiser (and Barnette and Wooley if re-characterized as government-funding cases) where the denial of independent, already-existing benefits was threatened. It is also unlike the denial of all business deductions for a taxpayer who lobbied contemplated in Justice Douglas’s concurrence in Cammarano v. United States, 358 U.S. 498, 515, 79 S.Ct. 524, 3 L.Ed.2d 462 (1959), as “a penalty on the exercise of First Amendment rights.” The only government benefit at risk is the subsidy that the government chose to restrict in order to achieve its policy goals.
The Policy Requirement also does not restrict Plaintiffs’ First Amendment speech outside of the scope of the Leadership Act program. This is because the organizational integrity guidelines implemented by the Agencies allow for exactly the affiliate structure that saved the funding conditions at issue in Taxation With Representation and Velazquez I and was found missing in FCC v. League of Women *259Voters, 468 U.S. 364, 104 S.Ct. 3106, 82 L.Ed.2d 278 (1984). In this case, Plaintiffs may create affiliate organizations to receive Leadership Act funds and comply with the Leadership Act’s Policy Requirement. Plaintiffs, therefore, are free to continue to remain silent or to espouse a pro-prostitution message with non-Leadership Act funds. In this way, the Policy Requirement coupled with the Guidelines only ensures that Leadership Act funds are spent within the scope of the government program — that is, on organizations that share Congress’s desire to “eradicate” the practice of “[pjrostitution and other sexual victimization” because they “are additional causes of and factors in the spread of the HIV/AIDS epidemic,” 22 U.S.C. § 7601(23). The Policy Requirement and Guidelines therefore impose no penalty on Plaintiffs’ First Amendment rights.
The majority rejects the argument that the Guidelines save the Policy Requirement from infringing Plaintiffs’ right to refrain from speaking. The majority explains that in previous cases, affiliate provisions like the Guidelines provided an “outlet” that allowed organizations to say what was otherwise “impermissibly prohibited” by federal subsidy programs. Maj. Op. at 259 (citing Taxation With Representation and League of Women Voters). The majority argues that this case is different because an “adequate alternative channel” cannot remedy a compelled speech condition “by affording an outlet to engage in privately funded silence.” Maj. Op. at 239. This logic misses the point of “adequate alternative channels” in the government subsidy context and again fails to account for the fact that the Policy Requirement is merely a subsidy condition, not a mandate to speak.5 Provisions allowing recipients of government funding to establish affiliate organizations to either receive the government funds or to operate exclusively with private funds are important because they remedy one way that a funding condition, although merely a funding condition, could be so coercive as to rise to the level of a direct restriction on speech. Affiliate structures prevent subsidy conditions from reaching beyond the scope of the subsidy program and restricting what an organization may or may not say outside of the scope of the program. It is in this way that subsidy conditions could become penalties on First Amendment rights equivalent to a direct restriction. See Taxation With Representation, 461 U.S. at 545, 103 S.Ct. 1997 (“The Code does not deny TWR the right to receive deductible contributions to support its non-lobbying activity.... Congress has merely refused to pay for the lobbying out of public monies.”).
For the reasons explained above, the fact that an affirmative speech condition *260rather than a negative speech condition is at issue here does not change the analysis of whether a subsidy condition rises to the level of a direct regulation of a constitutional right. See discussion supra at 254-58. Moreover, a direct restriction on speech is just as offensive to the First Amendment as is a direct compulsion to speak, Riley v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 796, 108 S.Ct. 2667, 101 L.Ed.2d 669 (1988) (“There is certainly some difference between compelled speech and compelled silence, but in the context of protected speech, the difference is without constitutional significance .... ”), see also Glickman v. Wile-man Bros. &amp; Elliott, Inc., 521 U.S. 457, 481, 117 S.Ct. 2130, 138 L.Ed.2d 585 (1997) (Souter, J., dissenting) (“[Cjompelling cognizable speech officially is just as suspect as suppressing it, and is typically subject to the same level of scrutiny.”), and funding conditions that implicate these principles should be subject to the same analysis.6
This is why the District Court’s dismissal of any saving effect of the Guidelines in this case because “the clause requiring Plaintiffs to adopt the Government’s view regarding ... prostitution remains intact,” Alliance for Open Soc’y Int’l, Inc. v. U.S. Agency for Int’l Dev., 570 F.Supp.2d 533, 545 (S.D.N.Y.2008) [hereinafter AOSI ], and, in turn, the majority’s quotation of that sentence, is inexplicable. So too is the majority’s assertion that “there remains, on top of [the Guidelines], the additional, affirmative requirement that the recipient entity pledge its opposition to prostitution.” Maj. Op. at 239. It bears repeating: The Policy Requirement together with the Guidelines do not require Plaintiffs or affiliates to adopt the government’s viewpoint regarding prostitution or to say anything. The Policy Requirement is a funding condition and it must be analyzed pursuant to the cases addressing “unconstitutional conditions” on government subsidies. Applying those cases, the Policy Requirement and the Guidelines do not penalize or coerce First Amendment protected conduct and do not compel speech outside of the scope of the government program. For all of these reasons, the Policy Requirement is not subject to heightened First Amendment scrutiny.
While the majority does not address the issue, Plaintiffs additionally argue that the Guidelines do not in fact provide an adequate alternative channel for protected First Amendment activity because they are too burdensome in practice. The District Court below addressed this challenge, although it did so in error by reviewing the Guidelines under heightened scrutiny. Id. at 548-49. We have explained that heightened scrutiny or an “undue burden” test does not apply to the question whether alternative channels like those at issue here are in fact adequate on an as-applied challenge. Brooklyn Legal Servs. Corp. v. Legal Servs. Corp., 462 F.3d 219, 230-32 (2d Cir.2006), cert. denied, 552 U.S. 810, 128 S.Ct. 44, 169 L.Ed.2d 11 (2007). Rather, the proper question is whether any burdens on plaintiffs under the organizational integrity guidelines “in effect preclude the plaintiffs from establishing an *261affiliate. If so, the alternative channels are inadequate, and the plaintiffs may prevail on their as-applied challenge.” Id. at 233. Because I would vacate the preliminary injunction and remand this case to the District Court, Plaintiffs would be free to raise any as-applied challenge to the Guidelines under the proper Brooklyn Legal Services standard at that time.
C
After concluding that the affirmative nature of the Policy Requirement “raises serious First Amendment concerns,” the majority ultimately asserts that heightened scrutiny applies in this case because of the “bold combination” of an affirmative-speech requirement that is also viewpoint-based. Maj. Op. at 234-35, 235-36. For the reasons explained above, nothing about the affirmative nature of the Policy Requirement requires heightened scrutiny to apply. Likewise, contrary to the majority’s suggestion, viewpoint-based funding conditions are not inherently “constitutionally troublesome,” Maj. Op. at 235, and the viewpoint-based nature of the funding condition at issue in this case does not warrant heightened scrutiny.
Funding conditions that discriminate on the basis of viewpoint are only subject to heightened scrutiny (1) when they are “aimed at the suppression of dangerous ideas,” Speiser v. Randall, 357 U.S. 513, 519, 78 S.Ct. 1332, 2 L.Ed.2d 1460 (1958) (internal quotation marks omitted), or (2) when they are imposed in the context of a program designed to encourage a diversity of views or to facilitate private speech in a quasi-public forum context, see Rosenberger, 515 U.S. at 834, 115 S.Ct. 2510, Velazquez II, 531 U.S. at 542, 121 S.Ct. 1043. These classes of cases are not unrelated. The presence of viewpoint discrimination in the context of a government program that has no policy objective other than funding private speech tends to demonstrate that any attached viewpoint-based condition is primarily intended to influence behavior or to suppress certain ideas rather than to achieve a legitimate objective or to promote a government message. However, “when a spending program is not universal but limited, providing benefits to a restricted number of recipients” (as is the case here and in Rust), and when that program “does not create a public forum, proving coercion is virtually impossible, because simply denying a subsidy does not coerce belief, and because the criterion of unconstitutionality is whether denial of the subsidy threatens to drive certain ideas or viewpoints from the marketplace.” Velazquez II, 531 U.S. at 552, 121 S.Ct. 1043 (Scalia, J., dissenting) (internal quotation marks and citation omitted).
First, Plaintiffs do not urge, and the majority correctly does not conclude, that the Policy Requirement is aimed at the suppression of any dangerous ideas. There is simply no evidence that Congress’s purpose in enacting the Leadership Act and attaching the Policy Requirement was to suppress pro-prostitution views (or even neutrality on the issue). Congress could hardly have thought the best way to suppress support for prostitution in the public discourse would be to offer federal funds to a narrow range of groups that wished to combat HIV/AIDS, but only if they espoused an anti-prostitution position. Both the purpose and effects of the Policy Requirement are a far cry from those cases where the government condition was clearly aimed at the suppression or compulsion of speech qua speech. See, e.g., Grosjean v. Am. Press Co., 297 U.S. 233, 250, 56 S.Ct. 444, 80 L.Ed. 660 (1936) (“[The tax] is bad because, in the light of its history and of its present setting, it is seen to be a deliberate and calculated device in the guise of a tax to limit the *262circulation of information.”); see also Minneapolis Star &amp; Tribune Co. v. Minn. Comm’r of Revenue, 460 U.S. 575, 579-80, 103 S.Ct. 1365, 75 L.Ed.2d 295 (1983) (discussing Grosjean); Speiser, 357 U.S. at 518, 78 S.Ct. 1332. Rather, the Policy Requirement is aimed at achieving Congress’s legitimate goal of eradicating prostitution and reducing behavioral risks as a technique of fighting HIV/AIDS. Moreover, the organizational integrity guidelines leave Plaintiffs with precisely the same ability to remain silent or speak a pro-prostitution message if they choose. The Policy Requirement and Guidelines therefore in no way silence government criticism or contrary views on prostitution and HIV/AIDS. Only affiliates that voluntarily choose to accept Leadership Act funds must oppose prostitution; Plaintiffs and all other speakers are free to speak their own messages, including messages contradictory to those of separate affiliate groups.
With regard to the second category of cases, the Supreme Court “has recognized that the existence of a Government subsidy, in the form of Government-owned property, does not justify the restriction of speech in areas that have been traditionally open to the public for expressive activity.” Rust v. Sullivan, 500 U.S. 173, 199— 200, 111 S.Ct. 1759, 114 L.Ed.2d 233 (1991) (internal quotation marks omitted). Rosenberger v. Rector &amp; Visitors of University of Virginia, 515 U.S. 819, 115 S.Ct. 2510, 132 L.Ed.2d 700 (1995), and Velazquez II extended this principle to conclude that viewpoint discrimination is improper not only in traditional public fora, but also in cases where the government essentially creates a limited public forum by “offerfing] to pay ... private speakers who convey their own messages,” Rosenberger, 515 U.S. at 835, 115 S.Ct. 2510. Once the government has offered to pay private speakers to speak their own messages, the government may not discriminate “against speech otherwise within the forum’s limitations.” Id. at 830, 115 S.Ct. 2510. One example of a subsidy program that pays private speakers but does not create a limited public forum is a program in which the government “ ‘use[s] private speakers to transmit specific information pertaining to its own program,’ ” Velazquez II, 531 U.S. at 541, 121 S.Ct. 1043 (quoting Rosenberger, 515 U.S. at 833, 115 S.Ct. 2510), or “subsidize^] transmittal of a message it favors,” Rosenberger, 515 U.S. at 834, 115 S.Ct. 2510. In any event, however, the “salient point” in the Supreme Court’s analysis of those programs in which viewpoint discrimination has been found improper is that those programs were “designed to facilitate private speech.” Velazquez II, 531 U.S. at 542, 121 S.Ct. 1043; see also United States v. Am. Library Ass’n, 539 U.S. 194, 213 n. 7, 123 S.Ct. 2297, 156 L.Ed.2d 221 (2003) (plurality opinion) (explaining that Rust does not only apply when the government seeks to communicate a specific message).
In this case, it is plain that the government does not seek to “encourage a diversity of views from private speakers,” as it did in Rosenberger, 515 U.S. at 834, 115 S.Ct. 2510, by offering to reimburse student groups for newspaper publication costs. The purpose of the Leadership Act is not to fund a variety of non-governmental organizations interested in fighting HIV/AIDS, each of whom might have a different viewpoint on prostitution and sex trafficking. On the contrary, the Leadership Act specifically seeks to advance an anti-prostitution, anti-sex-trafficking approach to combating HIV/AIDS. See 22 U.S.C. §§ 7601(23), 7611(a)(12). In enacting the Leadership Act, Congress made an inherently viewpoint-based judgment concerning the allocation of public resources for fighting HIV/AIDS, which sets the pro*263gram “apart from the subsidy at issue in Rosenberger ... and from comparably objective decisions on allocating public benefits,” Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 586, 118 S.Ct. 2168, 141 L.Ed.2d 500 (1998), at issue in cases where viewpoint discrimination was found invalid. In other words, public forum principles do not apply in this case because Congress did not authorize Leadership Act funds “in order to create a public forum for [Plaintiffs] to express themselves,” Am. Library Ass’n, 539 U.S. at 206, 123 S.Ct. 2297 (ruling that public forum principles do not apply because “[a] public library does not acquire Internet terminals in order to create a public forum for Web publishers to express themselves”), but rather to achieve particular policy goals.
Likewise, the purpose of the Leadership Act is not to generally “facilitate private speech,” as was the purpose of the LSC program in the Velazquez cases. In those cases, “Congress funded LSC grantees to provide attorneys to represent the interests of indigent clients.” Velazquez II, 531 U.S. at 542, 121 S.Ct. 1043. The LSC program was “not advancing any particular set of values that might be diluted or distorted,” Velazquez I, 164 F.3d at 766, by the grantee-lawyers’ speech or decision not to speak. Indeed, the LSC lawyer’s role specifically was to speak against the government in court in a claim for welfare benefits — the speech was “on the behalf of [the lawyer’s] private, indigent client” and inherently not on behalf of the government. Velazquez II, 531 U.S. at 542, 121 S.Ct. 1043. Therefore the case was distinguishable from Rust because, with regard to the LSC program, “there [was] no programmatic message of the kind recognized in Rust.” Id. at 548, 121 S.Ct. 1043. Here, on the contrary, instead of generally facilitating private speech, the purpose of the Leadership Act program is to combat HIV/AIDS in a particular way. The government has chosen to fund a method of combating HIV/AIDS that includes its private partners taking an anti-prostitution, anti-sex-trafficking position to the exclusion of an alternative program that would allow grantees to remain silent on the issue or to speak a pro-prostitution message. Unlike in the Velazquez cases, the government’s “set of values” and strategy of combating HIV/AIDS would be weakened, “diluted or distorted,” Velazquez I, 164 F.3d at 766, if its partners were allowed to speak a pro-prostitution, pro-sex-trafficking message or to stay silent on the issue. No matter how vehemently Plaintiffs may disagree with the government’s policy towards prostitution and HIV/AIDS, Congress decided that part of its anti-HIV/AIDS strategy was to “eradicate prostitution,” 22 U.S.C. § 7601(23). In this case, like Rust, the government is allowed to specify its grantees’ position on prostitution “deemed necessary for its legitimate objective[ ],” Velazquez II, 531 U.S. at 548, 121 S.Ct. 1043, of reducing HIV/AIDS.
The majority rejects Rust’s application here because it believes the Policy Requirement “compels Plaintiffs to voice the government’s viewpoint ... as if it were their own,” Maj. Op. at 237. First, it must be reiterated that the Policy Requirement does not compel any speech. See discussion supra at 254-58. Second, just as with the cases addressing whether subsidy conditions are coercive, none of the cases addressing allegedly viewpoint-discriminatory subsidy conditions have turned on whether an affirmative or negative speech requirement was at issue. Rather, the “salient point” for viewpoint-discrimination analysis is whether the government has effectively created a limited public forum. In this case, the government’s program is not designed to “encourage a diversity of views from private speakers,” Rosenber*264get, 515 U.S. at 834, 115 S.Ct. 2510, nor is it intended to facilitate private speech, Velazquez II, 531 U.S. at 544, 121 S.Ct. 1043. And “viewpoint-based funding decisions can be sustained in instances in which the government ... ‘use[s] private speakers to transmit specific information pertaining to its own program.’ ” Id. at 541, 121 S.Ct. 1043 (internal citation omitted) (quoting Rosenberger, 515 U.S. at 833, 115 S.Ct. 2510).
The majority’s only additional professed rationale for casting Rust and its progeny aside is that the Rust Court stated that “[n]othing in [the challenged regulations] requires a doctor to represent as his own any opinion that he does not in fact hold” and noted that “[t]he doctor is always free to make clear that advice regarding abortion is simply beyond the scope of the program,” Rust v. Sullivan, 500 U.S. 173, 200, 111 S.Ct. 1759, 114 L.Ed.2d 233 (1991). However, this observation came only in the Rust Court’s consideration of the claim by the plaintiffs in that case that “traditional relationships such as that between doctor and patient should enjoy protection under the First Amendment from Government regulation, even when subsidized by the Government,” id. at 200, 111 S.Ct. 1759, an issue the Court did not reach. Instead, the Court concluded that because the doctors in Rust were not required to state any opinion that they did not hold and could simply say that abortion advice was outside of the scope of the program, the regulations did “not significantly impinge upon the doctor-patient relationship.” Id. In this case, there is no such traditional relationship that should enjoy extra First Amendment protection, nor would any relationship as sensitive as the doctor-patient relationship be impinged if a recipient of Leadership Act funds did not actually oppose prostitution and sex trafficking, but said it did in order to receive government funding. The majority’s own example of a situation in which it believes an affirmative speech requirement would be permitted suggests that the risk that a recipient would be tempted to state an opinion it did not hold — in other words, to lie — to receive government funding does not invalidate a government subsidy condition. The majority “do[es] not doubt” that the government could require grantees of a “Just Say No” to drugs program to state that they oppose drug use by children. Maj. Op. at 237. But what about potential grantees who do not actually oppose drug use by children, but are tempted by the offer of funds? It cannot be that their constitutional rights are violated because as a condition of receiving federal money, they must “voice the government’s viewpoint and ... do so as if it were their own.” Maj. Op. at 237.
Despite all of this, the majority concedes that the government may impose an affirmative, viewpoint-based funding condition if “the government’s program is, in effect, its message,” or, perhaps, if the message is “central” to the program. Maj. Op. at 238-39, 239. The majority, however, concludes that because the “stated purpose of the Leadership Act is to fight HIV/AIDS, as well as tuberculosis, and malaria[,] Defendants cannot now recast the Leadership Act’s global HIV/AIDS-prevention program as an anti-prostitution messaging campaign.” Maj. Op. at 238 (footnote omitted). True enough. See Velazquez II, 531 U.S. at 547, 121 S.Ct. 1043 (“Congress cannot recast a condition on funding as a mere definition of its program in every case, lest the First Amendment be reduced to a simple semantic exercise.”). But this case is not like Velazquez II where the Supreme Court found that there was “no programmatic message of the kind recognized in Rust,” id. at 548, 121 S.Ct. 1043, that would support restricting lawyers’ *265First Amendment rights. In this case, the government is not attempting to recast a program that was meant to merely provide funds to allow private speakers to speak their own messages into a program that could support the Policy Requirement. Rather, the Policy Requirement is obviously related to substantive policy goals of the Leadership Act — goals beyond, and different from, simply subsidizing private speech for its own sake. See 22 U.S.C. § 7601(23) (“Prostitution and other sexual victimization are degrading to women and children and it should be the policy of the United States to eradicate such practices.”); id. § 7611(a)(12), (a)(12)(J) (directing that the President’s strategy to fight HIV/AIDS shall “make the reduction of HIV/AIDS behavioral risks a priority of all prevention efforts by ... eliminating] ... the sexual exploitation of women and children”). This is not a case where the funding condition is so attenuated from the purpose for which the public funds were appropriated as to invalidate the condition. Compare South Dakota v. Dole, 483 U.S. 203, 207-08, 107 S.Ct. 2793, 97 L.Ed.2d 171 (1987) (concluding that while “conditions on federal grants might be illegitimate if they are unrelated to the federal interest in particular national projects or programs,” “the condition imposed by Congress is directly related to one of the main purposes for which highway funds are expended — safe interstate travel” (internal quotation marks omitted)) with id. at 213-14, 107 S.Ct. 2793 (O’Connor, J., dissenting) (“In my view, establishment of a minimum drinking age of 21 is not sufficiently related to interstate highway construction to justify so conditioning funds appropriated for that purpose.”).
Moreover, the majority cites no support for its implication that the purpose of the Leadership Act must be examined at the broadest possible level of generality to determine whether public-forum principles apply to this case. See Maj. Op. at 236-37(“The stated purpose of the Leadership Act is to fight HTV/AIDS, as well as tuberculosis, and malaria.” (footnote omitted)). There is no reason why a government subsidy program must actually be a messaging campaign or even have a message as a “central” component in order to support a viewpoint discriminatory condition that is germane to legitimate substantive goals of the program. Rust, Rosenberger, and Velazquez II did not address the size of, number of purposes of, or any potential “subsidiary issue[s],” Maj. Op. at 238, in the government programs in which those cases suggested that viewpoint discriminatory conditions would be permissible.
The majority also questions the Leadership Act’s commitment to partnering with groups that oppose prostitution as a means of combating HIV/AIDS because the Policy Requirement specifically exempts four groups from compliance: the Global Fund to Fight AIDS, Tuberculosis and Malaria; the World Health Organization; the International AIDS Vaccine Initiative; and United Nations agencies, see 22 U.S.C. § 7631(f). One of these organizations, the International AIDS Vaccine Initiative, is focused on the development of an AIDS vaccine. The fact that Congress determined that while it generally only wished to partner with groups that opposed prostitution, it nevertheless wanted to fund research for an AIDS vaccine does not call into question Congress’s desire to eradicate prostitution as part of its efforts to combat HIV/AIDS. Congress may simply have determined that AIDS-vaccine research was an even more important priority. The three remaining groups are “public international organizations” in which the United States participates and which are made up primarily or exclusively of *266sovereign states. See generally id. § 288 (discussing “public international organizations”). Again, nothing about the fact that Congress chose to make Leadership Act funds available to these international organizations without requiring them to comply with the Policy Requirement undermines Congress’s strong desire to only partner with groups that share its opposition to prostitution. Congress may have determined that the goals of the Policy Requirement were outweighed by sensitive diplomatic considerations. The majority suggests that if Congress truly wished to support “anti-prostitution advocacy ... it could, of course, simply choose not to fund these organizations.” Maj. Op. at 238. But the decision whether to withhold Leadership Act funds from these organizations or instead to provide an exemption from the Policy Requirement is precisely the kind of policy judgment that Congress, not the courts, is entitled to make. Cf Regan v. Taxation With Representation, 461 U.S. 540, 549, 103 S.Ct. 1997, 76 L.Ed.2d 129 (1983) (“Congressional selection of particular entities or persons for entitlement to this sort of largesse is obviously a matter of policy and discretion not open to judicial review unless in circumstances which here we are not able to find.” (internal quotation marks omitted)).
Finally, the majority relies on the fact that “prostitution in the context of the international HIV/AIDS-prevention effort[ ] is a subject of international debate” and notes that it concerns a “controversial public issue,” to argue that Plaintiffs’ speech rights are important. Maj. Op. at 236-37 &amp; n. 4. The majority also rejects Defendants’ argument that strict scrutiny should not apply to the Policy Requirement because it implicates foreign affairs. But the substantive validity or controversial nature of Plaintiffs’ position on prostitution and any foreign affairs repercussions for the government both are not determinative of whether the Policy Requirement is constitutional pursuant to the “unconstitutional conditions” doctrine and the viewpoint-discrimination cases discussed above. Because I conclude that the Policy Requirement is not subject to heightened scrutiny in any event, I need not reach these arguments. Nevertheless, I believe my observations sufficiently dispose of them.
For all of the reasons explained above, I conclude that the Policy Requirement’s viewpoint-based nature is permissible in this case and that it is not subject to heightened judicial scrutiny.
IV
“A plaintiff seeking a preliminary injunction must establish that [it] is likely to succeed on the merits, that [it] is likely to suffer irreparable harm in the absence of preliminary relief, that the balance of equities tips in [its] favor, and that an injunction is in the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20, 129 S.Ct. 365, 374, 172 L.Ed.2d 249 (2008). We review a district court’s grant of a preliminary injunction for abuse of discretion. Alleyne v. N.Y. State Educ. Dep’t, 516 F.3d 96, 100 (2d Cir.2008). “A district court abuses its discretion when (1) its decision rests on an error of law....” Mullins v. City of New York, 626 F.3d 47, 51 (2d Cir.2010) (internal quotation marks omitted). The District Court in this case granted Plaintiffs’ request for a preliminary injunction because it concluded that the Policy Requirement “would not survive heightened scrutiny, and also impermissibly compel[s] speech” and therefore it “violate[s] the First Amendment.” AOSI, 570 F.Supp.2d 533, 549 (S.D.N.Y.2008). For the reasons explained above, I conclude that the District Court erred because the Policy Requirement is not subject to *267heightened scrutiny, does not compel speech, and does not violate the First Amendment. Furthermore, because Congress’s decision to enact the Policy Requirement is an entirely rational exercise of its powers pursuant to the Spending Clause, I would conclude that Plaintiffs have not established a likelihood of succeeding on the merits of their claim that the Policy Requirement is unconstitutional. Accordingly, I would vacate the preliminary injunction and remand the case for any further proceedings consistent with my views.7
With today’s decision, the majority unnecessarily splits from the Court of Appeals for the District of Columbia Circuit on this very issue. In 2007, the D.C. Circuit Court of Appeals rejected an almost identical challenge to the Leadership Act by a potential grantee that refused to adopt a policy opposing prostitution. See DKT Int’l, Inc. v. U.S. Agency for Int’l Dev., 477 F.3d 758 (D.C.Cir.2007). The Court explained that the Act’s viewpoint-based restrictions were permissible because “the government has not created a program to encourage private speech,” as it did in Rosenberger v. Rector &amp; Visitors of University of Virginia, 515 U.S. 819, 115 S.Ct. 2510, 132 L.Ed.2d 700 (1995), and FCC v. League of Women Voters, 468 U.S. 364, 104 S.Ct. 3106, 82 L.Ed.2d 278 (1984), but rather, “as in Rust, the government’s own message is being delivered.” DKT Int’l, 477 F.3d at 762 (internal quotation marks omitted). While the organizational integrity guidelines were not yet in place when DKT International was decided, the Court also rejected the plaintiffs argument that, pursuant to Rust, funding restrictions may only apply to particular projects and not to recipients in general. The Court explained that there was no constitutional violation in the Leadership Act because “[njothing prevents [the plaintiff] from itself remaining neutral and setting up a subsidiary organization that certifies it has a policy opposing prostitution.... The parent organization need not adopt the policy.” Id. at 763. Finally, the Court also rejected the plaintiffs compelled speech challenge, distinguishing Barnette, Speiser, and Wooley from the case before it:
In each of those cases, the penalty for refusing to propagate the message was denial of an already-existing public benefit. None involved the government’s selective funding of organizations best equipped to communicate its message. Offering to fund organizations who agree with the government’s viewpoint and will promote the government’s program is far removed from cases in which the government coerced its citizens into promoting its message on pain of losing their public education, Barnette, 319 U.S. at 629, 63 S.Ct. 1178, or access to public roads, Wooley, 430 U.S. at 715, 97 S.Ct. 1428.
DKT Int’l, All F.3d at 762 n. 2.
Furthermore, and as explained above, I believe that the “unconstitutional conditions” doctrine and the cases addressing viewpoint discrimination in the government subsidy context provide the appro*268priate framework for analyzing this case. I conclude that those cases demonstrate that the Policy Requirement is constitutional. Nevertheless, it has been said that the “unconstitutional conditions” doctrine is a “troubled area of [Supreme Court] jurisprudence,” Rust, 500 U.S. at 205, 111 S.Ct. 1759, and that the Supreme Court’s unconstitutional conditions cases “seem a minefield to be traversed gingerly,” Kathleen M. Sullivan, Unconstitutional Conditions, 102 Harv. L.Rev. 1413, 1415-16 (1989). Because the majority today, however, does more to further complicate the doctrine than to clarify it, the Supreme Court may wish to grant certiorari to set us straight.
I respectfully dissent.

. The judgment of the Court was announced in an opinion by Chief Justice Rehnquist and joined by three other Justices. Two other Justices concurred in the judgment and each filed their own opinions.


. While the Rust Court explained that "the Government has not discriminated on the basis of viewpoint; it has merely chosen to fund one activity to the exclusion of the other,” 500 U.S. at 193, 111 S.Ct. 1759, that may have been another way of stating the conclusion that the government had not impennissibly discriminated on the basis of viewpoint. Cf. Legal Servs. Corp. v. Velazquez, 531 U.S. 533, 541, 121 S.Ct. 1043, 149 L.Ed.2d 63 (2001) [hereinafter Velazquez 1} (“The Court in Rust did not place explicit reliance on the rationale that the counseling activities of the doctors under [the federal program] amounted to governmental speech; when interpreting the holding in later cases, however, we have explained Rust on this understanding.”); Velazquez I, 164 F.3d at 770 ("[W]e doubt that these words [in Rust} can reliably be taken at face value.”). The regulations at issue in Rust did, in fact, prohibit a particular position on abortion. See Velazquez II, 531 U.S. at 541, 121 S.Ct. 1043 ("We have said that viewpoint-based funding decisions can be sustained in instances ... like Rust, in which the government 'used private speakers to transmit specific information pertaining to its own program.' ” (quoting Rosenberger v. Rector &amp; Visitors of Univ. of Va., 515 U.S. 819, 833, 115 S.Ct. 2510, 132 L.Ed.2d 700 (1995))); Rust, 500 U.S. at 209, 111 S.Ct. 1759 (Blackmun, J., dissenting) ("The regulations are also clearly viewpoint based.”); id. at 210, 111 S'.Ct. 1759 (quoting the agency regulation stating that a project "may not encourage, promote or advocate abortion” (emphasis added in Rust)); see also Robert C. Post, Subsidized Speech, 106 Yale L.J. 151, 170 (1996) ("The [Rmsí] regulations plainly discriminate on the basis of viewpoint....”).


. The LSC is "a non-profit government-funded corporation, created by [an Act of Congress], for the purpose of providing financial support for legal assistance in noncriminal proceedings or matters to persons financially unable to afford legal assistance.” Id. at 759 (internal citation and quotation marks omitted).


. The majority is certainly correct to note that none of the unconstitutional conditions cases even involved an affirmative speech condition. Maj. Op. at 234 n. 3. It is the intersection of those two doctrines that provides the novel constitutional question before us. The point remains, however, that there has never been a suggestion that the mere existence of a particular type of substantive First Amendment concern should control whether a government funding condition is unconstitutional. That is because "[tjhere is a basic difference between direct state interference with a protected activity and state encouragement of an alternative activity consonant with legislative policy.” Maher v. Roe, 432 U.S. 464, 475, 97 S.Ct. 2376, 53 L.Ed.2d 484 (1977).


. It is true that we have explained that "Making [Taxation With Representation, League of Women Voters, and Rust ] together, Congress may burden the First Amendment rights of recipients of government benefits if the recipients are left with adequate alternative channels for protected expression.” Velazquez I, 164 F.3d at 766 (emphasis added); accord Brooklyn Legal Servs. Corp. v. Legal Servs. Corp., 462 F.3d 219, 231 (2d Cir.2006), cert. denied, 552 U.S. 810, 128 S.Ct. 44, 169 L.Ed.2d 11 (2007). The cases we summarized, however, all dealt with subsidy conditions that imposed negative restrictions on speech and therefore it is no surprise that the dual-structures contemplated were thought of as “adequate alternative channels” for restricted speech rather than for the right to refrain from speaking. In this case, it may be that it does not make sense to think of the Guidelines as providing an “outlet to engage in privately funded silence,” Maj. Op. at 239, but that does not affect whether affiliate provisions, like the Guidelines, prevent subsidy conditions, like the Policy Requirement, from amounting to penalties on First Amendment rights. I see no reason why an affirmative-speech subsidy condition should be treated differently.


. While it is true that dicta in West Virginia State Board of Education v. Barnette, 319 U.S. 624, 633-34, 63 S.Ct. 1178, 87 L.Ed. 1628 (1943), suggests that once the government is found to have compelled speech, it may be required to offer "even more immediate and urgent grounds” than when it restricts speech, that case does not speak to determining when a funding condition actually compels speech. The level of interest the government must demonstrate is only relevant once an infringement of First Amendment rights is demonstrated. The question in this case is whether the funding condition actually infringes First Amendment rights in the first instance; I would hold that it does not.


. The District Court did not reach Plaintiffs' vagueness claims because the Court granted the preliminary injunction on the grounds that the Policy Requirement and Guidelines violated the First Amendment because they "would not survive heightened scrutiny, and also impermissibly compel speech,” AOSI, 570 F.Supp.2d at 549. "It is the general rule, of course, that a federal appellate court does not consider an issue not passed upon below.” Singleton v. Wulff, 428 U.S. 106, 120, 96 S.Ct. 2868, 49 L.Ed.2d 826 (1976). Because the majority also does not reach Plaintiffs' vagueness challenge, I do not pass upon it here.

